 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 1 of 9 PageID #:33927




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES SECURITIES                          )
 AND EXCHANGE COMMISSION,                          )
                                                   )
                        Plaintiff,                 )
                                                           Civil Action No. 18-cv-5587
                                                   )
 v.                                                )
                                                           Hon. John Z. Lee
                                                   )
 EQUITYBUILD, INC., EQUITYBUILD                    )
                                                           Mag. Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN, and                )
 SHAUN D. COHEN,                                   )
                                                   )
                        Defendants.                )

               INDIVIDUAL INVESTORS’ MOTION TO MODIFY THE
      GROUP 1 SCHEDULE TO ALLOW FOR DISCOVERY OF BC57 LLC’S EXPERT

        The undersigned Group 1 individual investors (the “Individual Investors”) move to modify

the Schedule set forth in the Court’s order Regarding Summary Proceedings for Group 1 (Doc.

1006) to allow for discovery regarding the expert report that institutional lender BC57 LLC

(“BC57”) sought and received leave to include in its position statement (Docs. 1076 and 1078).

        In support of their motion, the Individual Investors state as follows:

        1.     After significant negotiation by the parties and resolving the lingering disputed

issues, the Court entered an order establishing the claims process for this Receivership. (Doc.

941.) The process created by the Court departed from the standard practices set by the Federal

Rules of Civil Procedure on a number of points. (See, e.g., Doc. 941 at ¶ 9 (establishing standard

discovery requests, limiting additional discovery to 10 interrogatories and 10 requests for

production, limiting third-party discovery to title companies/loan originators, and allowing for no

more than three, 3-hour depositions per participant).)
 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 2 of 9 PageID #:33928




       2.      For expert witnesses, the Court made it clear that it did not believe that experts

would be required, noting a couple of times, the Court did not “foresee the need for any expert

discovery during this process.” (Jan. 29. 2021 Hearing Tr. at 40-41, 42.) The Court specifically

cautioned that a “real estate lawyer” expert opining on which party had priority would be a “non-

starter.” (Id. at 40-31.) Consistent with these admonishments, the Court ordered that a party

wishing to rely on expert testimony must seek leave of court before the completion of discovery.

(Doc. 941, ¶ 10.)

       3.      The claims process for Group 1 began on July 9, 2021, and included a November

4, 2021 deadline for completing discovery, a December 9, 2021 deadline for submission of

Position Statements by the Claimants and SEC, a December 30, 2021 deadline for the Receiver’s

Submission regarding the claims, and a January 13, 2022 deadline for Claimants and the SEC to

submit Responsive Statements. (Doc. 1006.)

       4.      The Schedule for the Group 1 claims process does not include any deadlines for

expert discovery. (Doc. 1006.)

       5.      On November 1, 2021, BC57 filed its motion for leave to include an expert witness

disclosure in its Position Statement (due on December 9, 2021). (Doc. 1076.) The next morning,

the Court granted BC57’s motion. (Doc. 1078.)

       6.      Because the claims process did not contemplate expert discovery, allowing BC57

to submit an expert report with its Position Statement means none of the other parties in the claims

process for Group 1 will have an opportunity to question the opinions set forth in that report,

including at a deposition. The SEC addressed this and other issues raised by BC57’s request for

leave in its Response to BC57’s Motion for Leave for Expert Witness. (Doc. 1079 (requesting that




                                                 2
 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 3 of 9 PageID #:33929




claims process participants be given the opportunity to depose BC57’s expert prior to submitting

their position papers).)

       7.      For claimants like the Individual Investors, not being able to depose BC57’s expert

would likely mean that the only way that they can challenge that expert’s opinions would be

through an expert of their own – which will impose additional costs on claimants who are already

victims of the EquityBuild scheme. Before deciding whether to incur those costs, the Individual

Investors would like to depose BC57’s expert to better understand and test his opinions.

       8.      Accordingly, the Individual Investors now request that the Court modify the

Schedule to allow for discovery regarding BC57’s expert’s opinions. Specifically, the Individual

Investors propose the following changes to the Schedule for Group 1:

         Discovery Event                              Original Deadline       New Deadline
         Deadline for disclosure of BC57’s
                                                            N/A             December 9, 2021
         Expert’s Report

         Deadline for deposition of BC57’s
                                                            N/A             December 23, 2021
         Expert

         Deadline for disclosure of Rebuttal
                                                            N/A               January 6, 2022
         Expert Reports, if any

         Deadline for deposition of any Rebuttal
                                                            N/A              January 20, 2022
         Experts, if any

         Position Statements by Claimants and
                                                      December 9, 2021       January 27, 2022
         SEC due
         Receiver’s Submission regarding the
         claims and in support of any avoidance       December 30, 2021     February 17, 2022
         actions due
         Claimants’ and the SEC’s Responsive
                                                       January 13, 2022       March 3, 2022
         Statements are due

         Hearing on competing claims and
                                                            To be scheduled by the Court
         avoidance claims



                                                  3
    Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 4 of 9 PageID #:33930




In total, these modifications, which were selected mindful of having any deadlines fall during the

end-of-year holidays, will extend the Schedule by just under two months.

        9.     Additionally, the Individual Investors request that the Court make three

clarifications regarding expert discovery. First, the Individual Investors request that the Court

order that all experts disclose their opinions in reports that comply with Rule 26(a)(2).

        10.    Second, the Individual Investors request that the Court expand the three-hour

limitation on the length of depositions to 4.5 hours for expert depositions.

        11.    Third, the Individual Investors request that the Court order that the party disclosing

an expert pay to the expert any fees and expenses associated with that expert’s deposition.

Requiring this minimizes issues, both equitable and logistical, that result from requiring the

questioning parties to pay another party’s expert’s fees and expenses.

        12.    Equitably, requiring the party that retained the expert to pay expert fees associated

with that expert’s deposition eliminates the possibility that costs associated with deposing an

expert could prevent Claimants from being able to fully defend their claims, thereby avoiding

manifest injustice. In contrast, requiring the parties seeking to depose the experts, as provided for

in Rule 26(b)(4)(E),1 makes a party’s ability to challenge BC57’s expert’s opinions contingent on

that parties’ willingness to pay fees over which they have no control. Maintaining control over

the costs of expert discovery is particularly important for the Individual Investors, who are victims

of a Ponzi scheme and are trying to carefully manage and marshal their resources to efficiently

and effectively preserve their legal rights in this Receivership. The investors should likewise not



1
  By its express terms, Rule 26(b)(4)(E) requires a party to pay an opposing party’s expert only
for responding to discovery issued under Rule 26(b)(4)(A) or (D). As noted above, this claims
resolution process involves summary proceedings that are not governed by the Federal Rules of
Civil Procedure, suggesting that Rule 26(b)(4)(E) does not apply here.


                                                 4
 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 5 of 9 PageID #:33931




be forced to pay for BC57’s expert when the Court previously advised that expert discovery would

be unlikely and that real estate attorneys such as BC57’s expert would be “non-starters.” (Jan. 29.

2021 Hearing Tr. at 41.) Thus, requiring the disclosing party to cover the costs of their own

experts, including at a deposition, avoids potential manifest injustice.

       13.     Logistically, requiring the disclosing party to pay its expert’s fees and expenses

connected to a deposition means that each party knows it will only be responsible for the fees

associated with the expert it hires. This, in turn, eliminates the uncertainty of having to pay fees

for an expert chosen by another party and of having to pay expert fees associated with multiple

depositions. In a matter like this one that involves multiple parties, determining who should pay

the fees and expenses of another party’s expert will inevitably lead to issues as to the appropriate

allocation of the fees and expenses among the multiple parties that may be interested in an expert’s

deposition. Further, if more than one party seeks leave to rely on a rebuttal expert, requiring the

questioning party to pay for the time of the expert at a deposition means that other parties may be

required to pay for fees associated with multiple depositions.

       14.     For all of these reasons, counsel for the Individual Investors have regularly agreed

in large, multiparty cases involving experts that each party will simply cover all costs associated

with their own expert.

       15.     While they regret that the additional time added to the Schedule by their request is

necessary, the Individual Investors nonetheless request this modification in good faith to allow for

the time needed to conduct the important expert discovery.

       16.     Prior to filing this motion, the Individual Investors contacted counsel for the SEC,

the Receiver, and BC57 to see if they opposed its requests.




                                                  5
 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 6 of 9 PageID #:33932




        17.    Counsel for the SEC and the Receiver responded that they support the relief

requested in this motion.

        18.    Counsel for the Receiver further requested that if the Schedule is modified as

requested, that the deadline for the Receiver’s Disclosure of Avoidance Claims be moved from

November 18, 2021 to January 7, 2022, with the related deadline for requesting leave of Court to

take additional discovery relevant to those claims moved from November 25, 2021 to January 13,

2022. This would provide an opportunity for the Receiver to address the expert’s opinions in his

disclosure, as warranted, and would leave substantially intact the Court’s schedule providing that

the claimants would submit their position statements approximately 21 days following the

Receiver’s disclosure. The Individual Investors and the SEC do not oppose this request.

        19.    After meet-and-confer conversations on November 9 and 11, 2021, counsel for

BC57 indicated that they oppose the motion.

        WHEREFORE, the Indiavidual Investors respectfully request that the Court enter an

order

        a.     Modifying the Schedule for Group 1 as follows:

         Discovery Event                             Original Deadline        New Deadline
         Deadline for disclosure of BC57’s
                                                            N/A             December 9, 2021
         Expert’s Report

         Deadline for deposition of BC57’s
                                                            N/A             December 23, 2021
         Expert

         Deadline for disclosure of Rebuttal
                                                            N/A               January 6, 2022
         Expert Reports, if any

         Receiver’s Disclosure of Avoidance
                                                     November 18, 2021        January 7, 2022
         Claims is due

         Deadline for any of the lienholders to
                                                     November 25, 2021       January 13, 2022
         request leave of Court to take additional


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 Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 7 of 9 PageID #:33933




       discovery relevant to the Receiver’s
       claim


       Deadline for deposition of any Rebuttal
                                                           N/A               January 20, 2022
       Experts, if any

       Position Statements by Claimants and
                                                    December 9, 2021         January 27, 2022
       SEC due
       Receiver’s Submission regarding the
       claims and in support of any avoidance       December 30, 2021       February 17, 2022
       actions due
       Claimants’ and the SEC’s Responsive
                                                     January 13, 2022         March 3, 2022
       Statements are due

       Hearing on competing claims and
                                                          To be scheduled by the Court
       avoidance claims

      b.     Requiring that all experts disclose their opinions in reports that comply with Rule
             26(a)(2);

      c.     Allowing up 4.5 hours for all expert depositions;

      d.     Requiring that the party disclosing an expert pay all fees and expenses of the expert
             related to his or her deposition; and

      e.     Granting such further relief as the Court deems just and appropriate.

Dated: November 12, 2021                            CLAIMANTS PAT DESANTIS,
                                                    GIRL CAT CAPITAL WEST LLC,
                                                    ROBERT JENNINGS,
                                                    KNICKERBOCKER INVESTMENT
                                                    GROUP LLC, and LORI MORELAND

                                                    By:    /s/ Max A. Stein
                                                           One of their attorneys

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                                                7
Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 8 of 9 PageID #:33934




                                          1839 FUND LLC

                                          By:   /s/ Michael O’ Malley Kurtz

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                                      8
  Case: 1:18-cv-05587 Document #: 1085 Filed: 11/12/21 Page 9 of 9 PageID #:33935




                            CERTIFICATE OF SERVICE

       I, Max A. Stein, an attorney, certify that I caused a copy of the aforementioned
INDIVIDUAL INVESTORS’ MOTION TO MODIFY THE GROUP 1 SCHEDULE TO
ALLOW FOR DISCOVERY OF BC57 LLC’S EXPERT, to be served upon the parties and
counsel of record through the CM/ECF system.


                                              /s/ Max A. Stein




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